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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


Criminal Case No. 1:18-cr-00432-RBJ-1


UNITED STATES OF AMERICA,

                   Plaintiff,

vs.

DWANE NEVINS

                   Defendant.


                      ORDER TO SURRENDER IN LIEU OF
               TRANSPORTATION BY THE UNITED STATES MARSHAL


          IT IS ORDERED that Defendant, DWANE NEVINS, having been sentenced
in the above-named case to the custody of the Bureau of Prisons, is to surrender himself
by reporting to the Warden, FCI Englewood Satellite Prison Camp, 9595 West Quincy Avenue,
Littleton, Colorado 80123, on March 11, 2020, by 12:00 p.m., and will travel at his own
expense.

      DATED at Denver, Colorado, this 26th day of February, 2020.

                                        BY THE COURT:


                                        ______________________________
                                        R. BROOKE JACKSON
                                        United States District Judge
